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                           Exhibit A

                    Supplemental Stipulation
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                            (Jointly Administered)
                            Debtors.


                    STIPULATION REGARDING CERTAIN LOCAL COUNCIL
                     INDEMNITY, CONTRIBUTION, AND RELATED CLAIMS

             This stipulation is made and entered into by and among the Boy Scouts of America (the

“BSA”), the non-profit corporation that is, along with its affiliate, Delaware BSA, LLC, a debtor

and debtor in possession in the above-captioned chapter 11 cases and the non-debtor Local

Councils of the Boy Scouts of America listed on the signature pages to this stipulation (the

“Specified Local Councils”).

                                                  RECITALS

             WHEREAS, on May 26, 2020, the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Court”) entered the Order, Pursuant to 11 U.S.C. § 502(b)(9),

Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and 3003-1,

(I) Establishing Deadlines for Filing Proofs of Claim, (II) Establishing the Form and Manner of

Notice Thereof, (III) Approving Procedures for Providing Notice of Bar Date and Other

Important Information to Abuse Survivors, and (IV) Approving Confidentiality Procedures for




1
  The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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Abuse Survivors [Dkt. No. 695] (the “Bar Date Order”),2 which established 5:00 p.m. (prevailing

Eastern Time) on November 16, 2020 as the General Bar Date.

        WHEREAS, the Specified Local Councils wish to assert claims against the BSA for

indemnity, contribution, reimbursement, and/or subrogation under state law arising out of abuse-

related lawsuits.

        WHEREAS, the Specified Local Councils wish to avoid the expense of preparing and

filing contribution, indemnity, reimbursement, and subrogation claims based on substantially

similar factual circumstances.

        WHEREAS, the BSA wishes to expressly reserve its rights to contest, defend against, or

object to the aforementioned claims.

        NOW THEREFORE, THE PARTIES HEREBY STIPULATE AND AGREE AS

FOLLOWS:

        1.       Effectiveness. This stipulation shall become effective upon execution by counsel

for the BSA and the Specified Councils without need for any order of the Bankruptcy Court.

        2.       Claims Deemed Asserted. The BSA stipulates that each of the Specified Local

Councils shall be deemed to have timely asserted “any and all claims against the BSA for

indemnity, contribution, reimbursement, or subrogation, under any theory of law or equity,

related in any way to such Specified Local Council’s alleged or determined liability relating to

sexual abuse.” Each such claim is deemed asserted as an unsecured claim not entitled to priority

and in an amount that is undetermined as of the date hereof.

        3.       No Admission. Nothing herein shall be, or shall be deemed to be, an admission

by the BSA or any party in interest as to the validity or priority of any of the claims deemed


2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Bar
Date Order.
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asserted pursuant to Paragraph 2 above (the “Specified Claims”), and the BSA’s entry into this

stipulation shall not, and shall not be deemed to, waive any rights, arguments, claims, or defenses

that the BSA or any other party in interest may have with respect to the Specified Claims. The

BSA expressly reserves its rights to contest, defend against, or object to any claim asserted by

any of the Specified Local Councils, including the Specified Claims, and this stipulation shall not

prejudice or affect the rights of any other party in interest to contest, defend against, or object to

any such claim.

       4.      Local Council Rights. Nothing herein shall be construed to limit or affect any

Local Council’s right to file a proof of claim pursuant to the Bar Date Order, including for the

purpose of asserting claims similar to the Specified Claims.

       5.      Effect of Stipulation. This Stipulation shall have the same effect as the timely

filing of a proof of claim with the Claims and Noticing Agent; provided, however, that the

Specified Local Councils each assert that neither this stipulation nor the filing of this stipulation

on the docket or on the official claims register shall constitute, or be deemed to constitute: (a) a

waiver or release of the Specified Local Councils’ respective rights against any person, entity, or

property; (b) consent by any Specified Local Council to the jurisdiction of the Bankruptcy Court

or any other court; (c) a waiver of the Specified Local Councils’ respective rights to have final

orders in non-core matters entered only after de novo review by the United States District Court

for the District of Delaware with respect to the BSA’s chapter 11 case; (d) a waiver of the

Specified Local Councils’ respective rights to withdraw the reference or otherwise challenge the

jurisdiction of the Bankruptcy Court, or to assert that the reference has already been withdrawn,

with respect to (i) the subject matter of this stipulation, (ii) any objection or other proceeding

commenced with respect thereto, or (iii) any other proceeding commenced in the BSA’s
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chapter 11 case against or otherwise involving any of the Specified Local Councils; (e) a waiver

of the Specified Local Councils’ respective rights to a trial by jury in any proceeding so triable in

the BSA’s chapter 11 case or any case, controversy, or proceeding relating to such case; or (f) an

election of remedies. The BSA reserves the right to challenge the assertions set forth in the

foregoing proviso, and this stipulation shall not prejudice or affect the right of any party in

interest to challenge such assertions.

        6.      Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction to hear

and determine all matters arising from or related to the implementation, interpretation and/or

enforcement of this stipulation.

        7.      Filing with Clerk. The BSA shall cause this stipulation to be promptly filed on

the docket of the above-captioned chapter 11 cases.

        8.      Filing on Official Claims Register. Solely to facilitate the administration of the

Specified Claims, the Claims and Noticing Agent shall file on the official claims register of the

BSA’s chapter 11 case one copy of this stipulation for each of the Specified Local Councils,

which filings shall be assigned sequential claim numbers beginning with the prefix “LC.”

        9.      Addresses of Specified Local Councils. The address written on the signature page

for a Specified Local Council shall be the address to which all matters concerning its Specified

Claim shall be directed, including notices and requests for information.

        10.     Authority. Each person who executes this stipulation represents that he or she is

duly authorized to do so as an agent of the respective party hereto.

        11.     Headings. Headings of the decretal paragraphs of this stipulation have been

inserted for convenience of reference only and are not intended to be a part of or to affect the

interpretation of stipulation.
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CONSENTED TO BY:

Dated: November 16, 2020       MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware
                               /s/ Derek C. Abott
                               Derek C. Abbott (No. 3376)
                               Andrew R. Remming (No. 5120)
                               Eric W. Moats (No. 6441)
                               Paige N. Topper (No. 6470)
                               1201 North Market Street, 16th Floor
                               P.O. Box 1347
                               Wilmington, Delaware 19899-1347
                               Telephone: (302) 658-9200
                               Email: dabbott@mnat.com
                                      aremming@mnat.com
                                      emoats@mnat.com
                                      ptopper@mnat.com

                                – and –

                                WHITE & CASE LLP
                                Jessica C. K. Boelter (admitted pro hac vice)
                                1221 Avenue of the Americas
                                New York, New York 10020
                                Telephone: (212) 819-8200
                                Email: jessica.boelter@whitecase.com

                                – and –

                                WHITE & CASE LLP
                                Michael C. Andolina (admitted pro hac vice)
                                Matthew E. Linder (admitted pro hac vice)
                                111 South Wacker Drive
                                Chicago, Illinois 60606
                                Telephone: (312) 881-5400
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                                       mlinder@whitecase.com

                                Counsel and Proposed Co-Counsel for the Debtors
                                and Debtors in Possession
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Local Council:               Cascade Pacific

       11 November 2020
Dated: ____________,
                                               (Signature)

                              Printed
                              Name:       Matthew S. Devore

                              Title:      Scout Executive / CEO

                              Address:    2145 SW Naito Parkway



                                          Portland, OR 97201

                              Telephone: 503-226-3423

                              Email:      matthew.devore@scouting.org
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Local Council:                LaSalle Council, BSA 165

       November 12, 2020
Dated: ____________,
                                               (Signature)

                              Printed
                              Name:       John M. Cary

                              Title:      Scout Executive / CEO

                              Address:    1340 SOuth Bend Ave

                                          South Bend, IN 46628



                              Telephone: 574-289-0337 ex 310

                              Email:      john.cary@scouting.org
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                              Last Frontier Council
Local Council:

         November 13 2020
Dated: ____________,
                                                  (Signature)

                              Printed
                                             William H. Hoch
                              Name:

                              Title:          Counsel for Last Frontier Council


                              Address:        Crowe & Dunlevy

                                              Braniff Building, 324 N. Robinson Ave., Ste. 100

                                              Oklahoma City, OK 73102


                                              (405) 235-7700
                              Telephone:
                                              will.hoch@crowedunlevy.com
                              Email:
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Local Council:                  Mayflower Council, BSA (Massachusetts)

Dated: November 10, 2020
                                              (Signature)

                               Printed
                               Name:         Michael Rotar

                               Title:         Council President

                               Address:       c/o Mayflower Council, BSA

                                              83 Cedar Street

                                              Milford, MA 01757

                               Telephone:     (508) 872-6551

                               Email:         rotar@verizon.net
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Local Council:                Mountain West Council

       November 13 2020
Dated: ____________,
                                              (Signature)

                              Printed
                              Name:       Brent R. Wilson

                              Title:      Attorney for Mountain West Council

                              Address:     Hawely Troxell Ennis & Hawley LLP

                                           877 Main Street, Suite 1000

                                           Boise, Idaho 83702

                              Telephone: 208-388-4852

                              Email:      bwilson@hawleytroxell.com
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                             Pine Tree Council
Local Council:
        Nov. 11
Dated: ____________, 2020
                                                 (Signature)

                              Printed
                              Name:        Lindsay Zahradka Milne
                                           Attorney
                              Title:
                                           100 Middle Street
                              Address:
                                            Portland, ME 04062



                                             (207) 228-7379
                              Telephone:
                                            lmilne@bernsteinshur.com
                              Email:
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Local Council:               South Florida Council, Inc., BSA

       November 12 2020
Dated: ____________,
                                               (Signature)

                              Printed
                              Name:       Jeffrey S. Berger

                              Title:      Scout Executive

                              Address:    15255 NW 82nd Avenue

                                          Miami Lakes, FL 33016



                              Telephone: 305-364-0020

                              Email:      jeff.berger@scouting.org
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                              Theodore Roosevelt Council, Inc
Local Council:

Dated: November, 12, 2020
                                               (Signature)

                              Printed      Christopher M. Coscia
                              Name:

                              Title:       Scout Executive

                              Address:     544 Broadway

                                           Massapequa, NY 11758




                              Telephone: 1-516-797-7600

                              Email:       Chris.Coscia@Scouting.org
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Local C 3uncil:


Dated:   //M       2020
                                              (^gnatnre)

                              Printed
                              Name:


                              Title:


                              Address:              ! L^OcJ(/)               {)r.
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                              Telephone:    ■?/r      ^?^ 21f)X
                              Email:
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Local Council:                  Tidewater Council, Virginia Beach, VA

        November 11 2020
Dated: ____________,
                                               (Signature)

                              Printed
                                           Charles R. Kubic
                              Name:
                                           President
                              Title:

                              Address:     1032 Heatherwood Drive

                                           Virginia Beach, VA 23455



                                             757-497-2688
                              Telephone:

                              Email:       kubiccr@msn.com
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Local Council:                           Glacier's Edge Council, Madison, WI

       November 16 2020
Dated: ____________,
                                                 (Signature)

                              Printed
                              Name:         Marvin Smith

                              Title:        Interim Scout Executive/Area Director

                              Address:      5846 Manufacturers Drive

                                            Madison, WI 53704



                              Telephone: (608) 310-7300

                              Email:        marvin.smith@scouting.org
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Local Council:                             Greater Alabama Council



       November 16,
Dated: ____________, 2020
                                                 (Signature)

                              Printed
                              Name:                John T. Dabbs, III



                              Title:              Scout Executive/CEO



                              Address:        516 Liberty Parkway


                                              Birmingham, Alabama 35242




                              Telephone:      205-969-4240



                              Email:        jt.dabbs@scouting.org
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                              Arbuckle Area Council
Local Council:

        November 13 2020
Dated: ____________,
                                                 (Signature)

                              Printed
                                            William H. Hoch
                              Name:

                              Title:         Counsel for Arbuckle Area Council


                              Address:       Crowe & Dunlevy

                                             Braniff Building, 324 N. Robinson Ave., Ste. 100

                                             Oklahoma City, OK 73102


                                             (405) 235-7700
                              Telephone:
                                             will.hoch@crowedunlevy.com
                              Email:
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                                         Gulf Stream Council
Local Council:

Dated: ____________, 2020
                                               (Signature)

                              Printed
                              Name:            Terrence A. Hamilton

                              Title:           Scout executive/CEO

                              Address:      8335 N. Military Trail
                                            Palm Beach Gardens, Florida
                                            33410


                              Telephone:
                                           561-694-8585

                              Email:       TerrEnce.Hamilton@scouting.org
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Local Council:                1^-0 U&tff® ^^ <^ ^L)^ c/;c- •r ^ ^

Dated: flllZ.1 ,2020                 €S^^ -m ¥k
                                         / (Signature)

                            Printed
                            Name;        <S^ft^ M * ^yfiei^cj^.

                            Title:       P«e-&/ Kttjur

                            Address:    H< A)e^ f^^/^j A^CMJsJe

                                        ^•^^- cjr o.^^/^ ...,




                            Telephone: 2.0-3 - <-/Ji 2? -* S I ^ Z.


                            Email: <S ^A^s^t^ ) 0 0 €5. ATT. yJfT
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Local Council:                      Mountaineer Area Council
Dated: 11-16-2020                   /s/ Robert L. Greer
                                    Robert L. Greer (WV Bar No. 5852)
                                    Jonathon W. Fischer (WV Bar No. 12538)
                                    Greer Law Offices, PLLC
                                    439 W. Philadelphia Ave
                                    Bridgeport, WV 26330
                                    T: (304) 842-8090
                                    F: (304) 842-8091
                                    rgreer@greerlawoffices.com
                                    jfischer@greerlawoffices.com
                                    Counsel for Mountaineer Area Council
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Local Council:               Southeast Louisiana Council

       November 16 2020
Dated: ____________,
                                                (Signature)

                              Printed
                              Name:        Torrey Hayden

                              Title:       Development Director/Interim Executive

                              Address:    4200 S. I-10 Service Rd. W.

                                           Suite 101

                                           Metairie, LA 70001

                              Telephone: 504-889-0388

                              Email:       sela@bsamail.org
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Local Council:

Dated: ____________, 2020
                                               (Signature)

                              Printed
                              Name:

                              Title:

                              Address:




                              Telephone:

                              Email:
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Local Council:               Westark Area Council, Inc. Boy Scouts of America

Dated: November  15 2020
       ____________,
                                               (Signature)

                              Printed
                              Name:        Chris L. Daughtrey

                              Title:       Scout Executive/CEO

                              Address:     1401 Old Greenwood Blvd

                                           Fort Smth, AR 72901



                              Telephone:   479-782-7244

                              Email:       chris.daughtrey@scouting.org
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Local Council:               〕封&雪日 生も
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                                              ( S i gna血Ⅲe)




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                             A弛。SS‥         lる王手6餌で凄巾も心                   恥J巳

                                            仇を故山色                e医?はめ¥

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                              Telephone:       昭一と医も之艶C之、多
                                                                           当◆○㌣
                             Email:        高庇古山。㊤塞
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